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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR05-281-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   ROBERT SHANE LUCAS,                  )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An initial hearing on supervised release revocation in this case was scheduled before me

15 on August 14, 2007. The United States was represented by AUSA Susan M. Roe and the

16 defendant by Stewart P. Riley. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about January 9, 2006 by the Honorable James L.

18 Robart on a charge of Possession of a Controlled Substance (cocaine), and sentenced to time

19 served (about 170 days), 1 year supervised release. (Dkt. 420).

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant participate in drug testing, abstain from the use of alcohol, participate in a drug

22 treatment program, submit to search, reside in a halfway house for up to 90 days, provide access

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 to financial information, not be self-employed or employed by friends or relatives, obtain approval

02 for all employment, not work for cash, provide copies of pay stubs to his probation officer, and

03 not possess identification documents in any but his true name.

04          On January 19, 2006, defendant’s probation officer reported that defendant tested positive

05 for cocaine. He was reprimanded, placed in a structured testing program, and referred for

06 professional assessment and counseling. (Dkt. 426).

07          On July 31, 2006, defendant admitted to violating supervised release by failing to report

08 to the community corrections center as directed, committing new law violations of residential

09 burglary, attempted car theft and stolen property, failing to notify his probation officer within

10 seventy-two hours of being arrested, and using methamphetamine. (Dkt. 477.) Defendant was

11 sentenced to four months in custody, with credit for time served, followed by eight months

12 supervised release. (Dkt. 487.)

13          Defendant’s supervised release was modified on March 9, 2007 to require residence in a

14 halfway house for up to 90 days. (Dkt. 489.)

15          In an application dated July 19, 2007 (Dkt. 493), U.S. Probation Officer Brian K. Facklam

16 alleged the following violation of the conditions of supervised release:

17          1.      Using cocaine on or about June 23, 2007 in violation of standard condition number

18 7.

19          Defendant was advised in full as to those charges and as to his constitutional rights.

20          Defendant admitted the alleged violations and waived any evidentiary hearing as to

21 whether they occurred.

22          I therefore recommend the Court find defendant violated his supervised release as alleged,

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01 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

02 set before Judge Robart.

03          Pending a final determination by the Court, defendant has been released on the conditions

04 of supervision..

05          DATED this 14th day of August, 2007.



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07                                                Mary Alice Theiler
                                                  United States Magistrate Judge
08

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     cc:    District Judge:               Honorable James L. Robart
10          AUSA:                         Susan M. Roe
            Defendant’s attorney:         Stewart P. Riley
11          Probation officer:            Brian K. Facklam

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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